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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


MEGHAN OPBROEK, an individual,                       Case No. 3:22-cv-00610-JR

                      Plaintiff,                        STIPULATED MOTION AND ORDER FOR
                                                        LIMITED DISMISSAL OF ZACHARY
       vs.
                                                        DOMKA WITH PREJUDICE
CITY OF PORTLAND, a municipal corporation,
ZACHARY DOMKA in his individual capacity,
BRENT TAYLOR in his individual capacity,
MARK DUARTE, in his individual capacity, and
ERIK KAMMERER in his individual capacity,
                Defendants.


                                        STIPULATION

       Plaintiff Meghan Opbroek (“Plaintiff”) and Defendant Zachary Domka, through their

undersigned attorneys, stipulate that the claims by Plaintiff against Defendant Zachary Domka

should be dismissed with prejudice and without attorney fees or costs to either party.

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 STIPULATED MOTION AND ORDER FOR LIMITED DISMISSAL OF ZACHARY DOMKA WITH PREJUDICE
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       This is a limited dismissal as to Defendant Zachary Domka only.

IT IS SO STIPULATED:

 DATED: June 20, 2024                                    DATED: June 20, 2024

 THENELL LAW GROUP, P.C.                                 ALBIES & STARK LLC

 /s/ Chelsea P. Pyasetskyy                               /s/ Maya Rinta
 Chelsea Pyasetskyy, OSB No. 136450                      J. Ashlee Albies, OSB No. 051846
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 Attorneys for Zachary Domka                             ashlee@albiesstark.com
                                                         maya@albiesstark.com
                                                         Attorneys for Plaintiff
 DATED: June 20, 2024

 /s/ Viktoria Lo
 Viktoria Lo, OSB No. 175487
 vika@vlo-law.com
   Attorneys for Plaintiff


                             ORDER APPROVING STIPULATION

       This matter having come before the Court on the Stipulation of Plaintiff Meghan Opbroek

and Defendant Zachary Domka, therefore, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims by Plaintiff Meghan Opbroek

against Defendant Zachary Domka are hereby dismissed with prejudice and without attorney fees

and costs to either party.

DATED: _______________________, 2024




                                                 _______________________________________
                                                 United State District Judge




 STIPULATED MOTION AND ORDER FOR LIMITED DISMISSAL OF ZACHARY DOMKA WITH PREJUDICE
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          Case 3:22-cv-00610-JR         Document 102           Filed 06/20/24       Page 3 of 3




                                   CERTIFICATE OF SERVICE
    I hereby certify that on June 20, 2024, I served the foregoing STIPULATED MOTION AND
    ORDER FOR LIMITED DISMISSAL OF ZACHARY DOMKA WITH PREJUDICE on:

J. Ashlee Albies                                        Viktoria Lo
Maya Rinta                                              Levi Merrithew Horst PC
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SENT VIA:

☐    U.S. Postal Service, ordinary first-class mail
☐    U.S. Postal Service, certified or registered mail, return receipt requested
    Electronic Service
    Email
☐    Other (specify) ____________________




CERTIFICATE OF SERVICE - Page 3                                                                   2022-149

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